Case 2:11-cr-20394-DML-EAS ECF No. 174, PageID.799 Filed 01/13/14 Page 1 of 3




                      UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF MICHIGAN
                         SOUTHERN DIVISION

UNITED STATES OF AMERICA,

                         Plaintiff,
                                                               No. 2:11-cr-20394
    vs.                                                      Hon. Gerald E. Rosen

D-7 MAURICE CURRY,

                     Defendant.
___________________________________/

OPINION AND ORDER DENYING DEFENDANT’S MOTION TO OBTAIN
          SENTENCING/PLEA HEARING TRANSCRIPTS

      On June 25, 2012, this Court accepted a Rule 11 Plea Agreement related to

Defendant Maurice Curry’s involvement in trafficking narcotics in Detroit from

April 2009 through June 2011. (Dkt. # 126). As applicable here, Defendant’s Plea

Agreement provided that “the sentence of imprisonment in this case may not

exceed the top of the sentencing guideline range” -- 262 to 327 months. (Id. at ¶¶

2B, 3A). The Plea Agreement also specifically noted that “the Court must impose

a sentence of imprisonment . . . of at least 10 years.” (Id. at ¶ 3A). At sentencing

on September 27, 2012, this Court substantially departed from the sentencing

guideline range and imposed a sentence of 168 months of incarceration. (Dkt. #

155, at 2).




                                         1
Case 2:11-cr-20394-DML-EAS ECF No. 174, PageID.800 Filed 01/13/14 Page 2 of 3




      Presently before this Court is Defendant’s pro se Motion to Obtain

Sentencing/Plea Hearing Transcripts. (Dkt. # 165). According to Defendant, he

requires free copies of these transcripts in order to properly submit a motion under

28 U.S.C. § 2255 for ineffective assistance of counsel. (Id. at 1). Defendant

claims that “counsel promised in court that as long as he agreed to the Plea

Agreement,” the Court would substantially depart from the sentencing guidelines.

(Id.). Defendant’s Motion is without merit.

      “[A]n indigent prisoner is not entitled to a free transcript for the sole purpose

of framing a motion under Section 2255.” Lucas v. United States, 423 F.2d 683,

684 (6th Cir. 1970); Bentley v. United States, 431 F.2d 250, 254 (6th Cir.1970)

(similar); Rickard v. Burton, 2 F. App’x 469, 470 (6th Cir. 2001) (similar). Rather,

“[u]nder 28 U.S.C. § 753(f), the United States shall pay the fees for transcripts

provided to an individual with pauper status if the trial judge or circuit judge

certifies that the appeal is not frivolous, but presents a substantial question.

Conclusory allegations in support of a request for free transcripts do not satisfy

these requirements. Amadasu v. Mercy Franciscan Hosp., 515 F.3d 528, 530 (6th

Cir. 2008) (internal citation omitted). Accordingly, Defendant must satisfy two

conditions to receive a free transcript. United States v. Chambers, 788 F. Supp.

334, 338 (E.D. Mich. 1992). First, he must be certified to proceed in forma

pauperis under 28 U.S.C. § 1915. Id. Second, he must submit a motion for a free


                                          2
Case 2:11-cr-20394-DML-EAS ECF No. 174, PageID.801 Filed 01/13/14 Page 3 of 3




transcript setting forth specific factual allegations in support of his forthcoming §

2255 motion. Id. The Court, in turn, will examine this motion to determine

whether it is frivolous and whether the requested transcripts are needed to decide

the issues to be raised in the § 2255 motion. It will then decide whether or not to

grant the motion for a free transcript. Id.

      Defendant has not satisfied either of these conditions. First, Defendant has

not submitted an Application to Proceed In Forma Pauperis. Second, even if

Defendant had submitted such an application, his Motion is frivolous. Defendant

received a substantial departure from the sentencing guidelines.             Indeed,

Defendant’s 168 months of incarceration is 94 months lower than the bottom end

of the sentencing guidelines.

      For all of the foregoing reasons,

      IT IS HEREBY ORDERED that Defendant’s Motion to Obtain

Sentencing/Plea Hearing Transcripts [Dkt. # 165] is DENIED.

      IT IS SO ORDERED.


Dated:        January 13, 2014            s/Gerald E. Rosen
                                          GERALD E. ROSEN
                                          CHIEF, U.S. DISTRICT COURT

I hereby certify that a copy of the foregoing document was mailed to the attorneys
of record on this date, January 13, 2014, by electronic and/or ordinary mail.

                                          s/Julie Owens
                                          Case Manager, 313-234-5135

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